                                                                                                                                                3/09/22 9:07PM




 Fill in this information to identify the case:

 Debtor name         Centro Cabinetry, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF TENNESSEE

 Case number (if known)         2:22-bk-00550
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          March 9, 2022                           X /s/ Paul LaScola
                                                                       Signature of individual signing on behalf of debtor

                                                                       Paul LaScola
                                                                       Printed name

                                                                       CEO
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name            Centro Cabinetry, LLC

 United States Bankruptcy Court for the:                       MIDDLE DISTRICT OF TENNESSEE

 Case number (if known)               2:22-bk-00550
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $        1,087,400.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           218,535.72

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        1,305,935.72


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        4,233,933.13


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $           310,998.45

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           320,569.42


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           4,865,501.00




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         Centro Cabinetry, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF TENNESSEE

 Case number (if known)         2:22-bk-00550
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest
 2.        Cash on hand                                                                                                                                  $35.00



 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number
                    Wilson Bank & Trust
                    Payroll account
           3.1.     x3150                                                   Checking                                                                         $0.72


                    Wilson Bank & Trust
                    Operating account
                    x3366
           3.2.     (overdrawn balance)                                     Checking                                                                         $0.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                          $35.72
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     Security deposit with Smithville Electric                                                                                        $1,500.00
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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 Debtor         Centro Cabinetry, LLC                                                             Case number (If known) 2:22-bk-00550
                Name




 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


 9.        Total of Part 2.                                                                                                                $1,500.00
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable


           11b. Over 90 days old:                               178,563.82   -                          178,563.82 =....                             $0.00
                                              face amount                           doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                                     $0.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last           Net book value of         Valuation method used   Current value of
                                                      physical inventory         debtor's interest         for current value       debtor's interest
                                                                                 (Where available)

 19.       Raw materials
           Inventory of wood and
           raw materials for
           cabinets, paint, lacquer
           and thinner.                               2/1/2022                                  $0.00      Liquidation                         $8,000.00



 20.       Work in progress
           Cabinets in various
           stages of assembly                         2/1/2022                                  $0.00      Liquidation                         $2,000.00



 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies

 23.       Total of Part 5.                                                                                                              $10,000.00
           Add lines 19 through 22. Copy the total to line 84.


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 2
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 Debtor         Centro Cabinetry, LLC                                                            Case number (If known) 2:22-bk-00550
                Name

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                       Valuation method                       Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                   Net book value of      Valuation method used    Current value of
                                                                                 debtor's interest      for current value        debtor's interest
                                                                                 (Where available)

 39.       Office furniture
           Office furnishings                                                                  $0.00    Liquidation                          $5,000.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Office equipment and supplies                                                       $0.00    Liquidation                          $2,000.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                                 $7,000.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 3
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 Debtor         Centro Cabinetry, LLC                                                         Case number (If known) 2:22-bk-00550
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           General description                                                Net book value of      Valuation method used    Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value        debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           CNC machine and other equipment used in
           cabinetry manufacturing and assembly
           *See Attached List                                                               $0.00    Liquidation                        $200,000.00




 51.       Total of Part 8.                                                                                                          $200,000.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of      Valuation method used   Current value of
           property                                       extent of           debtor's interest      for current value       debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. 0 Riverwatch Trace
                     (Lot 10)
                     Dekalb County, TN

                     Propriety of legal
                     ownership in
                     dispute; transferred
                     from La Scola
                     Properties, LLC
                     2/20/2020 on premise
                     that 3rd party would
                     obtain $2.5MM in
                     capital for debtor,
                     which did not occur                  Fee simple                        $0.00    Tax records                         $93,700.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 4
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 Debtor         Centro Cabinetry, LLC                                                        Case number (If known) 2:22-bk-00550
                Name



           55.2.     165 Sunrise Pointe
                     (Lot 6)
                     Dekalb County, TN
                     Property currently
                     listed for sale at
                     $1,900,000 with no
                     offers

                     Propriety of legal
                     ownership in
                     dispute; transferred
                     from Paul & Kristen
                     La Scola 2/20/2020 on
                     premise that 3rd
                     party would obtain
                     $2.5MM in capital for
                     debtor, which did not
                     occur.                               Fee Simple                        $0.00    Tax records                     $439,100.00


           55.3.     0 Sunrise Pointe (Lot
                     5)
                     Dekalb County, TN

                     Propriety of legal
                     ownership in
                     dispute; transferred
                     from Paul & Kristen
                     La Scola 2/20/2020 on
                     premise that 3rd
                     party would obtain
                     $2.5MM in capital for
                     debtor, which did not
                     occur.                               Fee Simple                        $0.00    Tax records                     $105,200.00


           55.4.     817 Fairlane Cir
                     Dekalb County, TN

                     Propriety of legal
                     ownership in
                     dispute; transferred
                     from La Scola
                     Properties, LLC
                     2/20/2020 on premise
                     that 3rd party would
                     obtain $2.5MM in
                     capital for debtor,
                     which did not occur                  Fee Simple                        $0.00                                    $116,800.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 5
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 Debtor         Centro Cabinetry, LLC                                                        Case number (If known) 2:22-bk-00550
                Name

            55.5.    0 Sunrise Pointe (Lot
                     5S)
                     Dekalb County, TN

                     Propriety of legal
                     ownership in
                     dispute; transferred
                     from Paul & Kristen
                     La Scola 2/20/2020 on
                     premise that 3rd
                     party would obtain
                     $2.5MM in capital for
                     debtor, which did not
                     occur.                               Fee simple                        $0.00      Tax records                       $22,600.00


            55.6.    855 Allens Chapel Rd
                     Dekalb County, TN

                     Propriety of legal
                     ownership in
                     dispute; transferred
                     from La Scola
                     Properties, LLC
                     2/20/2020 on premise
                     that 3rd party would
                     obtain $2.5MM in
                     capital for debtor,
                     which did not occur.                 Fee Simple                        $0.00      Tax records                     $310,000.00




 56.        Total of Part 9.                                                                                                        $1,087,400.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                             Current value of
                                                                                                                             debtor's interest



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 6
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 Debtor         Centro Cabinetry, LLC                                                        Case number (If known) 2:22-bk-00550
                Name

 71.       Notes receivable
           Description (include name of obligor)

 72.       Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

 73.       Interests in insurance policies or annuities

 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)
           Potential cause(s) of action against Alternative Capital
           Solutions, Inc., Bidco, Terry Luker, and various other
           related parties                                                                                                               Unknown
           Nature of claim          Civil
           Amount requested                              $0.00


           Cause of action against Bobby & Laura Queen for
           $16,000.00 of cabinets received and not paid, lien
           pending.
           Debtor represented by Mingy Ball, Esq.                                                                                        Unknown
           Nature of claim         Civil
           Amount requested                       $16,000.00


           Cause of action against Robert & Lisa Widelock for
           $10,483.41 of cabinets received and not paid, lien
           pending.
           Debtor represented by Mingy Ball, Esq.                                                                                        Unknown
           Nature of claim         Civil
           Amount requested                       $10,483.41



 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership
           An agreement to sell airspace to the airport adjacent to
           the Debtor's location for $35,000; however, the
           transaction did not close due to an IRS lien. Upon
           information and belief, the City is still interested in
           purchasing; however, it is undetermined whether any
           proceeds, or how much thereof, would benefit the
           debtor.                                                                                                                       Unknown




 78.       Total of Part 11.                                                                                                                $0.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 7
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 Debtor          Centro Cabinetry, LLC                                                                               Case number (If known) 2:22-bk-00550
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                   $35.72

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                   $1,500.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                               $10,000.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                            $7,000.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $200,000.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                      $1,087,400.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                            $218,535.72           + 91b.            $1,087,400.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $1,305,935.72




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 8
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                                Exhibit to Schedule A/B No. 50

        MANUFACTURER                  MODEL                 SERIAL            DESCRIPTION    DATE PURCHASED         Value
Biesse                          Rover A FT 15301              1000013659CNC                        12/21/2016       $105,000
Biesse/Viet                     S1 211 2200 RKRT                  6006182
                                                                        WIDE BELT SANDER           10/31/2016        $17,000
Biesse                          Akron 1330 A                  1000011366BANDING MACHINE            10/13/2016        $30,000
Extrema                         ET-120-3           160805-56            SHAPER                      9/13/2016          $600
Extrema                         ET-120-3           160805-43            SHAPER                      9/13/2016          $600
Extrema                         DC-3100                            153704
                                                                        DUST COLLECTOR              9/13/2016         $1,000
Extrema                         DC-232/3                           120646
                                                                        DUST COLLECTOR              9/13/2016          $200
Extrema                         DC-232/3                           120651
                                                                        DUST COLLECTOR               3/1/2016          $200
Extrema                         DC-232/3                           120652
                                                                        DUST COLLECTOR               3/1/2016          $200
Extrema                         DC-232/3                           120666
                                                                        DUST COLLECTOR               3/1/2016          $200
Extrema                         DC-120             M147906              DUST COLLECTOR               3/1/2016          $100
Saw Stop                        PCS31230           P164734151           CABINET SAW                  3/1/2016         $2,200
Saw Stop                        PCS31230           P165134547           CABINET SAW                  3/1/2016         $2,200
Ritter Machinery Company        R275-16023                          16023
                                                                        PANEL CLAMP                 10/7/2016         $4,200
Ritter Machinery Company        B200T              B200T-16023          POCKET HOLE CUTTER          10/7/2016         $2,500
Putsch Group                    PANEL SAW                        16130040
                                                                        PANEL SAW                    3/6/2016         $3,000
Woodmaster Tools, Inc.          W-725              W1-8457              PLANNER AND MOLDER          4/20/2016   ?
Blum                            Mini Press P       JJ 02512             HINGE MACHINE                4/1/2016   ?
Quincy Compressor                     4152016774   CAI951363            MAIN COMPRESSOR            11/19/2016   ?
Catepillar                      GC20               4EM08339             SMALL FORKLILFT              5/1/2016   ?
Yale                            GLP080LINGBE089    E813V01977B          LARGE FORKLIFT               5/1/2016   ?
Braviisol Divisione Meccanica   LUI M SI           MUS20091007          SCISSOR LIFT                6/23/2016   ?
Dewalt                          DW S780            562946 2017 08-49    RECIPROCATING SAW           5/28/2016          $300
JLT                             79F-8-PC                                CLAMP                      10/25/2016         $3,000
JLT                             79F-8-PC                                CLAMP                      10/25/2016         $3,000
Col-Met                         CP-230-3P-1.5-1F   1641-02- JOB#52024C1 PAINT BOOTH                  4/1/2016   ?
Col-Met                         CP-230-3P-1.5-1F   1641-03- JOB#52024C2 PAINT BOOTH                  4/1/2016   ?




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 Fill in this information to identify the case:

 Debtor name         Centro Cabinetry, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF TENNESSEE

 Case number (if known)             2:22-bk-00550
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   Arthur H. Van Buren                            Describe debtor's property that is subject to a lien                 $176,446.95               $439,100.00
       Creditor's Name                                165 Sunrise Pointe (Lot 6) Dekalb County, TN,
                                                      and business equipment listed on attachment
       807 E Moran Rd                                 to Schedule B.
       Brentwood, TN 37027
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       8/2017                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       1. Arthur H. Van Buren
       2. Internal Revenue Service
       3. Tennessee Dept of
       Revenue
       4. Arthur H. Van Buren

 2.2   Arthur H. Van Buren                            Describe debtor's property that is subject to a lien                 $190,407.00               $439,100.00
       Creditor's Name                                165 Sunrise Pointe (Lot 6) Dekalb County, TN,
                                                      and business equipment listed on attachment
       807 E Moran Rd                                 to Schedule B.
       Brentwood, TN 37027
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       4/2019                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 6
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 Debtor       Centro Cabinetry, LLC                                                                   Case number (if known)      2:22-bk-00550
              Name


       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.1

       Global Economic
 2.3                                                                                                                           $450,000.00        $116,800.00
       Concepts, LLC et al.                           Describe debtor's property that is subject to a lien
       Creditor's Name                                817 Fairlane Cir, Dekalb County, TN and
       Attn: Jeff Schneider,                          junior UCC lien on business equipment
       Registered Agent                               (disputed).
       1107 Elk Run
       Maineville, OH 45039
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust (by prior owner, La Scola
                                                      Properties, LLC)
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       1/23/2019                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       1. Global Economic
       Concepts, LLC et al.
       2. TME Investments, LLC,
       et al.

 2.4   Internal Revenue Service                       Describe debtor's property that is subject to a lien                 $1,731,897.66          $439,100.00
       Creditor's Name                                In rem claim as to 165 Sunrise Pointe (Lot 6)
       Centralized Insolvency                         Dekalb County, TN (NFTL recorded against K.
       Operation                                      & P. La Scola while owners of property).
       PO Box 7346
       Philadelphia, PA 19101
       Creditor's mailing address                     Describe the lien
                                                      NFTL Recorded 7/30/2018 (against K&P
                                                      LaScola)
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.1


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 2 of 6
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 Debtor       Centro Cabinetry, LLC                                                                   Case number (if known)      2:22-bk-00550
              Name


 2.5   Internal Revenue Service                       Describe debtor's property that is subject to a lien                     $291,189.68               $0.00
       Creditor's Name                                All of the right title and interest of the debtor
       Centralized Insolvency
       Operation
       PO Box 7346
       Philadelphia, PA 19101
       Creditor's mailing address                     Describe the lien
                                                      NFTL recorded 7/23/2021
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.6   Internal Revenue Service                       Describe debtor's property that is subject to a lien                      $33,991.84          Unknown
       Creditor's Name                                All of the right title and interest of the debtor
       Centralized Insolvency
       Operation
       PO Box 7346
       Philadelphia, PA 19101
       Creditor's mailing address                     Describe the lien
                                                      NFTL recorded 8/27/2021
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       Tennessee Dept of
 2.7                                                                                                                             Unknown          $439,100.00
       Revenue                                        Describe debtor's property that is subject to a lien
       Creditor's Name                                165 Sunrise Pointe (Lot 6)
       c/o Tenn. Attorney                             Dekalb County, TN
       General's Office
       PO Box 20207
       Nashville, TN 37202
       Creditor's mailing address                     Describe the lien
                                                      State Tax Lien recorded 11/29/2018
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 3 of 6
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 Debtor       Centro Cabinetry, LLC                                                                   Case number (if known)      2:22-bk-00550
              Name

       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.1

 2.8   Tim Shaw                                       Describe debtor's property that is subject to a lien                     $200,000.00        $310,000.00
       Creditor's Name                                855 Allens Chapel Rd, Dekalb County, TN
       c/o Joy Longnecker, Esq.
       1600 West End Ave, Suite
       2000
       Nashville, TN 37203
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust (by prior owner, La Scola
                                                      Properties, LLC)
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       4/2017                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       1. Tim Shaw
       2. Tim Shaw and Joshua
       Smith

       Tim Shaw and Joshua
 2.9                                                  Describe debtor's property that is subject to a lien                     $400,000.00        $310,000.00
       Smith
       Creditor's Name                                855 Allens Chapel Rd, Dekalb County, TN
       c/o Joy Longnecker, Esq.                       (Disputed in rem claim)
       1600 West End Ave, Suite
       2000
       Nashville, TN 37203
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust (by prior owner, La Scola
                                                      Properties, LLC)
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       9/2017                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 4 of 6
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 Debtor       Centro Cabinetry, LLC                                                                   Case number (if known)       2:22-bk-00550
              Name

            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.
        Specified on line 2.8

 2.1    TME Investments, LLC, et
 0      al.                                           Describe debtor's property that is subject to a lien                     $760,000.00         $116,800.00
        Creditor's Name                               165 Sunrise Pointe; 817 Fairlane Cir; 855
        ATTN: Teresa R. Elwood,                       Allens Chapel; 0 Sunrise Pointe (Lots 5 and
        Registered Agent                              5S)
        7111 Augusta Pines Pkwy                       Dekalb County, TN
        E                                             (Disputed in rem claims)
        Spring, TX 77389
        Creditor's mailing address                    Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
        10/2019                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.
        Specified on line 2.3

                                                                                                                               $4,233,933.1
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                         3

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
         Glenn B. Rose, Esq.
         Bass, Berry & Sims                                                                                     Line   2.1
         150 Third Avenue South, Suite 2800
         Nashville, TN 37201

         Glenn B. Rose, Esq.
         Bass, Berry & Sims                                                                                     Line   2.2
         150 Third Avenue South, Suite 2800
         Nashville, TN 37201

         Gotee Digital Ventures, LLC
         Attn: Registered Agents Inc.                                                                           Line   2.10
         30 N. Gould Street, Suite 7974
         Sheridan, WY 82801

         Gotee Digital Ventures, LLC
         30 N. Gould Street, Suite 7974                                                                         Line   2.3
         Sheridan, WY 82801




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 5 of 6
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 Debtor       Centro Cabinetry, LLC                                                     Case number (if known)   2:22-bk-00550
              Name

        TME Investments, LLC, et al.
        ATTN: Teresa R. Elwood, Registered Agent                                                Line   2.3
        7111 Augusta Pines Pkwy E
        Spring, TX 77389




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                      page 6 of 6
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 Fill in this information to identify the case:

 Debtor name         Centro Cabinetry, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF TENNESSEE

 Case number (if known)           2:22-bk-00550
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       $1,045.43         $1,045.43
           Christopher Lopez                                         Check all that apply.
           1354 Vilda Way                                               Contingent
           Lebanon, TN 37087                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                              $0.00      $0.00
           City of Smithville                                        Check all that apply.
           104 E Main St #103                                           Contingent
           Smithville, TN 37166                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Notice only
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 1 of 7
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 Debtor       Centro Cabinetry, LLC                                                                           Case number (if known)   2:22-bk-00550
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                             $0.00     $0.00
          DeKalb County                                              Check all that apply.
          DeKalb County Courthouse -                                    Contingent
          Room 204                                                      Unliquidated
          Smithville, TN 37166                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,845.75    $1,845.75
          Dorothy Pewitt                                             Check all that apply.
          7505 Mangrum Road                                             Contingent
          Primm Springs, TN 38476                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $25,000.00     $3,025.00
          Dr. Robert Landsberg                                       Check all that apply.
          143 Island Drive                                              Contingent
          Hendersonville, TN 37075                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Deposit made for cabinet project
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $250,000.00     $250,000.00
          Internal Revenue Service                                   Check all that apply.
          Centralized Insolvency Operation                              Contingent
          PO Box 7346                                                   Unliquidated
          Philadelphia, PA 19101                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll taxes (940 and 941) for 2018-2021
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 2 of 7
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 Debtor       Centro Cabinetry, LLC                                                                           Case number (if known)   2:22-bk-00550
              Name

 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                             $0.00     $0.00
          Internal Revenue Service                                   Check all that apply.
          Centralized Insolvency Operation                              Contingent
          PO Box 7346                                                   Unliquidated
          Philadelphia, PA 19101                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,255.64    $1,255.64
          James Michael Pewitt                                       Check all that apply.
          7355 Mamie Lane                                               Contingent
          Fairview, TN 37062                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.9      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $20,000.00     $13,650.00
          Kristin L. La Scola                                        Check all that apply.
          1354 Vilda Way                                                Contingent
          Lebanon, TN 37087                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.10     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $10,000.00     $10,000.00
          Tennessee Dept of Revenue                                  Check all that apply.
          c/o Tenn. Attorney General's                                  Contingent
          Office                                                        Unliquidated
          PO Box 20207                                                  Disputed
          Nashville, TN 37202
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes for 2018-2021
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 3 of 7
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 Debtor        Centro Cabinetry, LLC                                                                          Case number (if known)          2:22-bk-00550
               Name

 2.11       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                       $1,851.63    $1,851.63
            Tracy Kyle                                               Check all that apply.
            2242 Temperance Hall Road                                   Contingent
            Liberty, TN 37095                                           Unliquidated
                                                                        Disputed

            Date or dates debt was incurred                          Basis for the claim:


            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes



 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
        3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
           out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    Unknown
           Alternative Capital Solutions, LLC                                          Contingent
           133 Holiday Court. Suite 207
                                                                                       Unliquidated
           Franklin, TN 37067
                                                                                       Disputed
           Date(s) debt was incurred
           Last 4 digits of account number                                         Basis for the claim:

                                                                                   Is the claim subject to offset?     No       Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $3,200.00
           Amaranth Designs                                                            Contingent
           1015 Mansker Farms Blvd.                                                    Unliquidated
           Hendersonville, TN 37075                                                    Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    Unknown
           BMW Financial Services                                                      Contingent
           300 Chestnut Ridge Road                                                     Unliquidated
           Woodcliff Lake, NJ 07677                                                    Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     RE: Lease
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.4       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $3,000.00
           Bylar Industrial                                                            Contingent
           Paul Bylar                                                                  Unliquidated
           1661 Cedar Creek Road, Suite A                                              Disputed
           Vanleer, TN 37181
                                                                                   Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                         Is the claim subject to offset?     No       Yes


 3.5       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    Unknown
           Commercial Capital Bidco, Inc.                                              Contingent
           133 Holiday Court
                                                                                       Unliquidated
           Suite 207
           Franklin, TN 37067                                                          Disputed

           Date(s) debt was incurred                                                               Bidco asserts it loaned $526,078 to Centro prior to
                                                                                   Basis for the claim:
           Last 4 digits of account number                                         2/2020, which is disputed by Centro. Bidco further asserts a $30,000
                                                                                   loan was made to Centro and another borrower, which Centro
                                                                                   disputes the legality thereof.
                                                                                   Is the claim subject to offset?     No       Yes


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 Debtor       Centro Cabinetry, LLC                                                                   Case number (if known)            2:22-bk-00550
              Name


 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $150,000.00
          Dean Solon                                                            Contingent
          C/O Shoals Technologies                                               Unliquidated
          1400 Shoals Way                                                       Disputed
          Portland, TN 37148
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,429.29
          DTC Communications                                                    Contingent
          111 High Street                                                       Unliquidated
          Alexandria, TN 37012                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,000.00
          Evans, Jones & Reynolds                                               Contingent
          401 Commerce Street                                                   Unliquidated
          Suite 710                                                             Disputed
          Nashville, TN 37219
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,188.40
          Hartford Insurance                                                    Contingent
          One Hartsford Plaza                                                   Unliquidated
          Hartford, CT 06155                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,726.01
          Middle Tennessee Gas                                                  Contingent
          1030 W. Broad Street                                                  Unliquidated
          Smithville, TN 37166                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $11,000.00
          Mingy Ball, Esq.                                                      Contingent
          206 E. Public Square                                                  Unliquidated
          Smithville, TN 37166                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,000.00
          Opal Point                                                            Contingent
          PO Box 2428                                                           Unliquidated
          Lebanon, TN 37088                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    RE: Storage
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Centro Cabinetry, LLC                                                                   Case number (if known)            2:22-bk-00550
              Name

 3.13      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $77,225.72
           Stripe Capital                                                       Contingent
           510 Townsend Street                                                  Unliquidated
           San Francisco, CA 94103                                              Disputed
           Date(s) debt was incurred
                                                                                             $25,000 loan and (up to) $52,225.72 in disputed
                                                                             Basis for the claim:
           Last 4 digits of account number                                   transactions for unfilled orders
                                                                             Is the claim subject to offset?         No    Yes

 3.14      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $25,000.00
           Tate Deguira                                                         Contingent
           Uncommon Builds                                                      Unliquidated
           2816 Dickerson Pike                                                  Disputed
           Nashville, TN 37207
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?         No    Yes


 3.15      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $8,000.00
           United Healthcare                                                    Contingent
           Headquarters Address                                                 Unliquidated
           9900 Bren Road E                                                     Disputed
           Hopkins, MN 55343
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?         No    Yes


 3.16      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $7,800.00
           Wilson Bank & Trust                                                  Contingent
           576 W. Broad St.                                                     Unliquidated
           Smithville, TN 37166                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?         No    Yes

 3.17      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $15,000.00
           Wurth Wood Group                                                     Contingent
           634 Melrose Ave                                                      Unliquidated
           Nashville, TN 37211                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?         No    Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                                      related creditor (if any) listed?             account number, if
                                                                                                                                                    any
 4.1       Commercial Capital Bidco, Inc.
           c/o Benjamin E. Goldammer, Esq.                                                            Line     3.5
           222 Second Ave. N., Suite 340-M
                                                                                                             Not listed. Explain
           Nashville, TN 37201

 4.2       Stripe Capital
           354 Oyster Pte. Blvd                                                                       Line     3.13
           South San Francisco, CA 94080
                                                                                                             Not listed. Explain


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

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 Debtor       Centro Cabinetry, LLC                                                               Case number (if known)       2:22-bk-00550
              Name


5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                  Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.       $                    310,998.45
 5b. Total claims from Part 2                                                                       5b.   +   $                    320,569.42

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.       $                      631,567.87




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 Fill in this information to identify the case:

 Debtor name         Centro Cabinetry, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF TENNESSEE

 Case number (if known)         2:22-bk-00550
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Centro Cabinetry, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF TENNESSEE

 Case number (if known)         2:22-bk-00550
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                           Check all schedules
                                                                                                                                 that apply:

    2.1      Kristin L. La                     1354 Vilda Way                                     BMW Financial                     D
             Scola                             Lebanon, TN 37087                                  Services                          E/F       3.3
                                                                                                                                    G




    2.2      Paul & Kristen La                 165 Sunrise Pointe                                 Internal Revenue                  D   2.4
             Scola                             Sparta, TN 38583                                   Service                           E/F
                                                                                                                                    G




    2.3      Paul & Kristen La                 165 Sunrise Pointe                                 Arthur H. Van Buren               D   2.1
             Scola                             Sparta, TN 38583                                                                     E/F
                                                                                                                                    G




    2.4      Paul & Kristen La                 165 Sunrise Pointe                                 Arthur H. Van Buren               D   2.2
             Scola                             Sparta, TN 38583                                                                     E/F
                                                                                                                                    G




Official Form 206H                                                            Schedule H: Your Codebtors                                      Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Centro Cabinetry, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF TENNESSEE

 Case number (if known)         2:22-bk-00550
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                                          $0.00
       From 1/01/2022 to Filing Date
                                                                                                   Other    Gross Sales


       For prior year:                                                                             Operating a business                               $428,764.00
       From 1/01/2021 to 12/31/2021
                                                                                                   Other    Gross Sales


       For year before that:                                                                       Operating a business                               $175,674.00
       From 1/01/2020 to 12/31/2020
                                                                                                   Other    Gross Sales

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
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 Debtor       Centro Cabinetry, LLC                                                                     Case number (if known) 2:22-bk-00550



    may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                           Dates                Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                    Value of property

       BMW Financial Services                                    Leased BMW X7                                                 2/12/2022                    $65,000.00
       300 Chestnut Ridge Road
       Woodcliff Lake, NJ 07677


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                   Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    Commercial Capital Bidco,                         Civil                      Dekalb County Circuit                          Pending
               Inc. v. Centro Cabinetry, LLC,                                               Court                                          On appeal
               La Scola Properties, LLC,
                                                                                                                                           Concluded
               Paul La Scola and Kristen O.
               La Scola


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions               Dates given                                Value



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 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                 Dates of loss            Value of property
       how the loss occurred                                                                                                                                    lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates                Total amount or
                the transfer?                                                                                                                                value
                Address
       11.1.    Dunham Hildebrand, PLLC
                2416 21st Avenue South,
                Suite 303
                Nashville, TN 37212                                  Payment for legal representation                          2/2022                     $5,000.00

                Email or website address


                Who made the payment, if not debtor?
                Arthur Van Buren



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                  Dates transfers             Total amount or
                                                                                                                        were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                   Date transfer             Total amount or
               Address                                           payments received or debts paid in exchange              was made                           value
       13.1 S&P Machinery
       .    Attn: Patrick Shrum
               3115 Potts Crossing                               Unique Machine and Tool Co, Door
               Smyrna, TN 37167                                  Machine, Model 50GT2, S/N: 1702160250                    12/15/2021                    $18,000.00

               Relationship to debtor




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 Debtor       Centro Cabinetry, LLC                                                                     Case number (if known) 2:22-bk-00550



               Who received transfer?                            Description of property transferred or                  Date transfer            Total amount or
               Address                                           payments received or debts paid in exchange             was made                          value
       13.2                                                      Biesse DOWEL INSERTER, Elix B, S/N:
       .                                                         11042, Sold 12/5/2021 for $21,000
                                                                 Biesse CABINET CLAMP MACHINE,
                                                                 Cosmo, S/N: 1000010220, Sold 12/5/2021
                                                                 for $20,000
                                                                 Cantek DOVETAIL MACHINE
                                                                 ,CANJDT-75, S/N: 1609409, Sold
               360degreemachinery                                1/12/2022 for $3,500
               Attn: Bryan Frieze                                Denray Machine SANDING TABLE,
               765 Gallagher Road                                9600B, S/N: 474925, Sold 1/12/2022 for                  12/5/2021 and
               Kingston, TN 37763                                $2,000                                                  1/12/2022                    $46,500.00

               Relationship to debtor




 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units




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 Debtor      Centro Cabinetry, LLC                                                                      Case number (if known) 2:22-bk-00550




18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                     Last 4 digits of         Type of account or          Date account was             Last balance
              Address                                            account number           instrument                  closed, sold,            before closing or
                                                                                                                      moved, or                         transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                        Names of anyone with                Description of the contents          Do you still
                                                                      access to it                                                             have it?
                                                                      Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                      Names of anyone with                Description of the contents          Do you still
                                                                      access to it                                                             have it?
       Opal Point Boat Storage                                        Paul La Scola                       Old cabinets, equipment parts           No
       4227 Sparta Hwy                                                Kristen O. La Scola                 and other assorted items                Yes
       Smithville, TN 37166



 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.



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 Debtor      Centro Cabinetry, LLC                                                                      Case number (if known) 2:22-bk-00550



       Case title                                                     Court or agency name and            Nature of the case                            Status of case
       Case number                                                    address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
            None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Arthur H. Van Buren                                                                                                        2018 - current
                    807 E Moran Rd
                    Brentwood, TN 37027
       26a.2.       LBMC                                                                                                                       2016 - current
                    P.O. Box 1869
                    Brentwood, TN 37024
       26a.3.       Kristen O. La Scola                                                                                                        2018 - current
                    165 Sunrise Pointe
                    Sparta, TN 38583
       26a.4.       Kristin L. La Scola                                                                                                        2018 - current
                    1354 Vilda Way
                    Lebanon, TN 37087

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None



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 Debtor      Centro Cabinetry, LLC                                                                      Case number (if known) 2:22-bk-00550



       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Paul La Scola                                  165 Sunrise Pointe                                  Member, CEO                           50%
                                                      Sparta, TN 38583

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Kristen O. La Scola                            165 Sunrise Pointe                                  Member, President                     50%
                                                      Sparta, TN 38583

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Commercial Capital Bidco,                      133 Holiday Court, Suite 207                        Disputed.                             Disputed.
       Inc.                                           Franklin, TN 37067



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates              Reason for
                                                                 property                                                                   providing the value




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 Debtor       Centro Cabinetry, LLC                                                                     Case number (if known) 2:22-bk-00550



               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.1                                                                                                              Debtor's
       .                                                                                                                 records
                                                                                                                         reflects
                                                                                                                         recurring pay,
                                                                                                                         though many
                                                                                                                         checks were
                                                                                                                         never
                                                                                                                         negotiated
               Paul & Kristen La Scola                                                                                   due to cash
               165 Sunrise Pointe                                                                                        flow issues of    Services rendered
               Sparta, TN 38583                                  Approximately $40,000                                   debtor.           to company.

               Relationship to debtor
               Members


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         March 9, 2022

 /s/ Paul LaScola                                                       Paul LaScola
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         CEO

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                      Middle District of Tennessee
 In re       Centro Cabinetry, LLC                                                                            Case No.      2:22-bk-00550
                                                                                   Debtor(s)                  Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                  5,000.00
             Prior to the filing of this statement I have received                                        $                  5,000.00
             Balance Due                                                                                  $                       0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):           Arthur Van Buren

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                            CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     March 9, 2022                                                                 /s/ Gray Waldron
     Date                                                                          Gray Waldron
                                                                                   Signature of Attorney
                                                                                   Dunham Hildebrand, PLLC
                                                                                   2416 21st Ave S, Ste 303
                                                                                   Nashville, TN 37212
                                                                                   629.777.6519 Fax: 615.777.3765
                                                                                   gray@dhnashville.com
                                                                                   Name of law firm




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                                                               United States Bankruptcy Court
                                                                      Middle District of Tennessee
 In re      Centro Cabinetry, LLC                                                                    Case No.   2:22-bk-00550
                                                                                   Debtor(s)         Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


I, the CEO of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to the

best of my knowledge.




 Date:       March 9, 2022                                              /s/ Paul LaScola
                                                                        Paul LaScola/CEO
                                                                        Signer/Title




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